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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                       CIVIL ACTION

VERSUS                                                      NUMBER: 12-0859

MARLIN N. GUSMAN, ET AL.                                    SECTION: “I”(5)



                    ORDER RESCHEDULING STATUS CONFERENCE

      The status conference scheduled for June 24, 2022 in the above matter is hereby

RESCHEDULED for June 30, 2022 at 11:00 a.m. before Magistrate Judge Michael B. North.

      New Orleans, Louisiana, this 21st day of       June   , 2022.




                                                MICHAEL B. NORTH
                                          UNITED STATES MAGISTRATE JUDGE
